     Case 2:20-cv-00097-TOR       ECF No. 1-2    filed 03/11/20   PageID.13 Page 1 of 19

                                                                     Insurance Gommissioner
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 6

 7               IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                          IN AND FOR THE COUNTY OF SPOKANE
 8
       KAY STEPHENS, an individual, and all       )
 9     others siinilarly situated,                )
                                                  ) Case No.:
                          Plaintiff,              )
10                                                1 COMPLAINT — CLASS ACTION
       vs.
11
      UNITED SERVICES AUTOMOBILE
12    ASSOCIATION, a Texas reciprocal inter-
      iiisurance excliange, and CCC
13    INFORMATION SERVICES, INC., a
      Delaware Coiporation,
14
                          Defendants.
15

16
             COMES NOW, Plaintiff Kay Stephens, by and through her undersigned attoi7leys of
17
     record, Kirk D. Miller ofKirIzD. Miller, P.S.; Brian G. Cameron of Ca»zeron Sutherland, PLLC
18
     and Christopher M. Hogue of Hogue Law Firm, alleges and claims against the above-named
19
     Defendants as follows:
20
                                        I.   INTRODUCTION
21

22

23    COMPLAINT — CLASS ACTION - 1                                               Kirk D. Miller, P.S.
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t        ~




     1       I           1.1.     This action arises from Defendant United Services Autoinobile Association's

     2           ("USAA") systematic and extensive abuse of Wasliingtoii law tlirougli its undei-valuing and

     3           underpaying of claims to thousands of Washington consuiners in total loss vehicle situations.

     4           USAA is an insurance company that is bound by law to process claims fairly and malce their'

     5 I I insureds wliole after an accident. Under Washington's Unfair Claims Settleinent Practices

     6           regulation, WAC 284-30-300 through 284-30-400, this means that USAA must pay the actual

     7, cash value of the total loss veliicle and is required to itemize and explain any additions or

     8           deductions to the consumer.

     9                   1.2      Instead of following Wasliington law, USAA systeinatically reduces claiin value

    10           in total loss vehicle situations by applying a uniform "condition adjustinent" on coinparable

    11           vehicle values, which artificially and improperly reduces claiin payments.byhundreds or

    12           tliousands of dollars on eacli claim. These "condition adjustments" are arbitrary, unjustified,

    13           unexplained, and un-itemized. USAA's systeinatic abuse of Washington laws and regulations

    14           has harined thousands of policyliolders and consumers in the State of Washington,

    15           tliein out. of what is lilcely to amount to inillions of dollars.

    16                   1.3      Defendant CCC Infonnation Services, Inc. ("CCC") prepares veliicle valuations

    17           for USAA to use when they pay out total loss veliicle claiins in Washington. CCC's veliicle '

    18           valuations are likewise required to comply with Waslungton laws and regulations. Instead, CCC

    19           unlawfully conspires witli USAA to undervalue total loss claims by faniishing arbitraiy,

    20           unjustified, unexplained, and un-itemized condition adjustments for use in the claims handling

    21           process in Washington.

    22

    23. I COMPLAINT = CLASS ACTION - 2                                                              Kirk D. Miller, P.S.
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 1                1.4   Plaintiff brings this class action on behalf of all of those insured under automobil

 2    insurance policies issued in the State. of Wasliington by USAA whose claim valuations were

 3    based upon the values of coinparable veliicles that were reduced by artificial, unexplained, and

 4    un-itemized "condition adjustments" that were supplied by CCC.                                 :

 5            1.5       Plaintiff seeks for herself and the class coinpensatoiy dainages, treble damages,

 6    attorney's fees and costs, as well as declaratoiy and injunctive relief.

 7,                                               II._   PAI2TIES

 8            2.1       Plaintiff Kay Stephens ("Stephens"), at all tiines material hereto, was a resident

 9    of Spolcane County, Washington.

10            2.2       At all tiines inaterial hereto, Plaintiff Stephens was an insured under a policy of

11    automobile insurance with USAA that included coverage for the total loss of a veliicle.

12            2.3       Defendant USAA is a reciprocal interinsurance exchange and unincoiporated

13    association organized under the laws of the state of Texas, having its principal place of busiizess

14    in San Aiitonio, Texas.

15            2.4       Defendant USAA is licensed to and does sell insurance in the State of

16 Washington.

17            2.5       Defendant CCC is a Delaware corporation with its principal place of business in

'18   Illinois.

19                                   III. JURISDICTION AND VENUE

20            3.1       This Coui-t has personal jurisdiction over Plaintiff because Plaintiff consents to

21    this Court's jurisdiction.

22

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 1              3.2   This Court has personal jurisdiction over USAA because USAA is licensed and

 2    authorized to do business in Washington and has transacted business in Wasliington.

 3              3.3   This Coui-t has personal jurisdiction over CCC because CCC has pui-posefully

 4    directed its activities toward Washington by contracting to provide valuation services to

 5    insurance carriers in Washington for use in settliiig and underpaying the total loss claims of

 6    Washington insureds.

 7              3.4   Venue is proper in Spolcane County because this is the county in which Plaintiffs

 8    insurance.benefits were denied and the cause of action arose, and Plaintiff resides within the

 9    jurisdiction of the Court.

10                                               IV. FACTS

11              4.1   Plaintiff repeats, reiterates and incorporates the allegations contained in

12    paragraphs 1.1 through 3.4 with the sanie force and effect as if, the, saine were set forth at length

13    herein.

14              4.2   Defendant USAA is a Texas organ'ization that sells automobile insurance policies

15    to, consuiners in the State of Wasliington like Plaintiff Stephens.

16              4.3   USAA's business model is to provide insurance to past aild present military

17    members and their fainilies.

18              4.4   Ms. Stephens is an Ai-rny veteran who has been a member with USAA for

19.   approxiinately 38 years.

20              4.5   On its website, USAA promotes to the public that inembers, lilce Ms. Stephens,

21.   who buy USAA insurance "become part of a fainily who stands by you during eveiy stage of

22    your life".

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     1           4.6     But when Ms. Stephens and other USAA members needed USAA to stand by

     2   them when their vehicles were totaled in car accidents, USAA abandoned those veiy same

     3   members that they had promised to stand by.

     4           4.7     Instead, USAA chose to place greater importance on profits than they did'on the

     5   value and well-being of their own members.

     6           4.8     With Defendant CCC's assistance, USAA manipulated the numbers to

     7   shoi-tchange vulnerable WasluiZgton consumers, who were relying upon USAA to pay fair value

     8   for their totaled vehicles so that they could buy a replaceinent vehicle.

     9           4.9     CCC caters to the needs of insurance cai7iers lilce USAA, and as part of their

    10   business provides vehicle valuation reports to insurance companies for total loss claim situations,

    11           4.10 On its website, CCC recognizes tlhat "[a]ccidents, especially those resulting in

    12   total loss, can be traumatic for your customers [insureds]."

,   13           4.11 CCC promises that they give insureds "the confidence of knowing they're getting

    14   a vehicle valuation based on verifiable data." They claim for insurers that their services will

    15   "BOOST YOUR CUSTOMERS' CONFIDENCE". They.also tout that they are a"trusted

    16   solution".

    17           4.12 Upon infonnation and belief, pursuant to agreement, CCC provides USAA with

    18   valuation reports for total loss vehicle situations.

    19           4.13 These vehicle valuation reports apply arbitrary, unjustified, unexplained, and un-

    20   itemized "condition adjustments" to the values of coinparable vehicles in violation of

    21   Washington laws and regulations.

    22

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 1              4.14 USAA and CCC work in concert to create policies and provide lowball valuations

 2      that clieat Washiiigton USAA insureds out of hundreds or thousands of dollars that they are

 3      entitled to.

 4              A.     USAA and CCC's Uniform "Condition Adjustments" Systematically
                       Underpay Washington Consumers in Total Loss Vehicle Claims.
 5
                4.15 WAC 284-30-300 through 284-30-400 define certain minimum standards which,
 6
        if violated witli such frequency as to indicate a general business practice, will be deemed to
 7
        constitute urifair claims settleinent practices. It is laiown as the "Unfair Claims Settleinent
 8
        Practices" regulation
 9
                4.16 For total loss vehicle claiins under these regulations, USAA rnust base any cash
10
        settleinent offer on the "actual cash value of a coinparable motor vehicle". WAC 284-30-391(2).
11
                4.17 The "actual cash value" means the fair market value of the loss vehicle
12
        immediately prior to the loss. WAC 284-30-320(1).
13
                4.18 In the event of a total loss situation, USAA promises in its policy to pay the
14
        insured the "actual cash value" at the time of loss.
15 '
                4.19 For total loss claims, USAA inust "[b]ase all offers on itemized and verifiable
16 '
        dollar amounts for vehicles that are cuiTently available, or were available within ninety days of
17
        the date of loss, using appropriate deductions or additions for options, mileage, or condition
18, I
        when detennining comparability." WAC 284-30-391(4)(b).
19 I
                4.20 For total loss claims, "[a]ny additions or deductions from the actual cash value
20
        must be explained .to the claimant and must be itemized showing specific dollar ainounts". WAC
21
        284-30-391(5)(d).
22
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 1            4.21 In all of these instances, USAA fails to offer and pay the actual cash value as

 2 I I required by Washington law and regulations.

 3            4.22 USAA bases its offers and payments on rrianipulated data and reports from CCC

 4   that impose arbitrary and unexplained "condition adjustments" to artificially reduce the.values c

 5   coinparable vehicles. This, in turn, artificially reduces the actual cash .value that is offered or p

 6 I I out to the insured.

 7            4.23 Upon infonnation and belief, CCC and USAA collaborate in the creation of the

 8   valuation report for each total loss vehicle.

 9            4.24 Upon infoi-rnation and belief, for each total loss claim, USAA provides basic

10   infonnation about the loss vehicle and its condition and configuration. CCC then populates the

11   report with prices of purportedly comparable vehicles it identified that recently sold or were for

12   sale in the geographic area of the insured, and then applies a downward condition adjustment to

13   tlie values of those coinparable vehicles. CCC talces an active role in collecting valuatioii data on

14   comparable vehicles and then reducing those valuations to sei-ve the economic interests of the

15   insurer. These reports and downward condition adjustinents are arbitrary, unexplained,

16   unjustified, un-itemized, inconsistent, and contrary to Washington law.

17            4.25 Upon inforination and belief, USAA laiew or should have known that CCC's

18   application of condition adjustnients to the values of comparable veliicles did not comply with

19   Washington law and results in deception, delays, and underpayments of motor vehicle total loss

20 claims.

21            4.26 Upon infoi7nation and belief, USAA verifies the results of some or all of CCC's

22   total loss valuations.

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 1           4.27 Upon infonnation and belief, CCC is aware that its total loss valuation inethod

 2   does not comply with Washington law. CCC designs its products and services to serve the need

 3   of the insurance industry nationwide. But the business of insurance is state specific, and

 4   Washington's total loss veliicle regulations expressly require iteinization and explanations of .

 5 I condition adjustments. CCC furnishes the valuation reports to USAA anyway for use in

 6   Washington in order to fiu-tlier tlie economic interests of USAA at the expense of their insureds.

 7           4.28 USAA offers each insured a claim settlement equivalent to the valuation fouiid ij

 8   the CCC valuation report;

 9           4.29 Under Wasliington law, "[i]nsurers are responsible for the accuracy of

10   to deterinine actual cash value." WAC 284-30=380(7). Thus, USAA is responsible for the

11   accuracy of CCC's vehicle valuations and any falsities or misrepresentations therein.

12           4.30 The CCC valuation reports reduce the estimated values of coinparable vehicles,

13   citing a"condition adjustment", but fail to itemize or explain the basis for these condition

14   adjustments. The condition adj.ustinents are arbitrary and unjustified. Even though each

15   coinparable vehicle obviously has unique characteristics, the repoi-ts reduce the value of inulfiple

16   comparable vehicles by the exact same amount, down to the last dollar, without any itemization

17   or explanation for the amount. These arbitrary reductions bear iio relation to the actual fair

18. marlcet value of the comparable veliicles or the loss vehicle.

19           B.     USAA Underpaid the Total Loss Claim of Plaintiff Stephens.

20           4.31 Plaintiff Stepheiis owned a 2006 Dodge Grand Caravan SXT that was damaged in

21 I a motor vehicle accident on or about July 27, 2018 and detennined to be a total loss.

22           4.32 Ms. Stephens inade a claim with USAA for the total loss of her vehicle.

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  1           4.33 Iil the course of the settlement process of Ms. Stephen's total loss vehicle claim,

 2    USAA provided Ms. Stephens with a couple of marlcet valuation reports fiom CCC. USAA's

 3    offers to Ms. Stephens were based upon these CCC valuation repoi-ts.

 4            4.34 USAA first provided Ms. Stephens with a CCC valuation report that offered to

 5 I I pay $2,293.28 for her totaled vehicle.

 6            4.35 In the first CCC valuation report provided to Ms. Stephens, CCC listed the values

 7    of two coinparable velucles. The first coinparable veliicle was a 2006 Dodge Grand Caravan

 8    SXT located in Deer Park, WA at the Parlcway Auto Center dealership. The second comparable

 9    vehicle was a 2006 Dodge Caravan SE located in Spokane, WA at the Auto Nation Honda

10    Spolcane dealership. CCC's valuation report applied a negative unifonn conditioil adjustment of

11    $771 to both comparable vehicles without iteinizing ot explaining the basis of the adjustment as

-12   required by Washington law. The report reduced the arnount of these coinparable vehicles by

13    exactly the same amount, without any consideration and regardless of any individual differences

14    in the respective conditions of the velhicles.

15            4.36 USAA later provided Ms. Stephens with a second CCC valuation report that

16    offered to pay her $2,634.77 for the totaled vehicle.

17            4.37 In the second CCC valuation report provided to Ms. Stephens, CCC again listed

18    the values of two comparable vehicles. The first comparable vehicle was still the saine 2006

19    Dodge Grand Caravan SXT located in Deer Parlc, WA at the Parkway Auto Center dealership.

20    The second comparable veliicle was different, however. The second coinparable vehicle in this

21    second report was now a 2006 Dodge Grand Caravan SXT located in Kalispell, MT at the Green

22    Hyundai dealership. CCC's valuation report applied a negative uniforin condition adjustment of

23     COMPLAINT — CLASS ACTION - 9                                                   Kirk D. Miller, P.S.
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 1    $793 to both comparable vehicles without itemizing or explaining the basis of the adjustinent as

 2    required by Washington law. This second report reduced the amount of these cornparable

 3    velucles by exactly the saine ainount, regardless of any individual differences in the respective

 4    conditions of the veliicles. These blaiilcet adjustments were arbitrary and unjustified, and resultec

 5    in an underpayment of $793 to Ms. Stephens.

 6           4.38 Notably, both of the CCC reports provided to Ms. Stephens have the exact saine

 7    first comparable vehicle — the 2006 Dodge Grand Caravan in Deer Parlc, WA at the Parkway

 8    Auto Center dealership. In the first report; CCC provides a negative condition adjustment of

 9   ,$771 to tliis coinparable veliicle. And in the second report, CCC pro.vides a negative condition

10    adjustment of $793 for the exact same comparable vehicle. These different condition adjustment
                                                                                                               m
11    for the exact saine comparable veliicle fi.irther demonstrates that these adjustments are arbitrary,

12    unjustified, unexplained, un-itemized, and without basis under Washington law.

13           4.39 USAA tendered cliecks in the amount of $2,634.77 for the totaled vehicle despite

14    Ms. Stephen's dispute of her vehicle valuation. During this period, the checics expired and were

15    canceled.

16           4.40 USAA later reissued a checic for the totaled vehicle in the amount of $2,365.52,

17    continuing its use of the negative condition adjustinents of coinparable vehicles and underpaying

18   Ms. Stephens.

19           4.41 USAA aild CCC have acted with at least reclkless disregard of the rights of others

20   by manipulating the numbers to settle total loss veliicle claims. USAA and CCC have devised

21   valuation methods that are unfair, misleading, inconsistent, and calculated to confuse and

22   deceive consumers in the settlement process.

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     1              4.42 USAA and CCC's practices have cost consumers millions of dollars in losses as

     2    their claims go underpaid. Meanwhile, USAA and CCC reap millions in wrongfiil profits by

     3    betraying the trust of USAA insureds.

     4                               V.       CLASS ACTION ALLEGATIONS

     5              5.1   Plaintiff repeats, reiterates and incorporates the.allegations contained in

     6    paragraphs 1.1 tluougli 4.42 with the sarne force and effect as if the saine were set fortli at lengtli

     7    herein.

     8              5.2   Plaintiff brings all claims herein individually and as a class action (defined below)

     9    pursuant to,Rule of Civil Procedure 23.

    10              5.3   The class consists of:

    11                    All individuals insured by USAA under a Washington private passenger vehicle
                          policy who, from the earliest allowable time to the date of judgment, received a
    12                    first-party total loss settlement or settlement offer based in whole or in part on the
                          price of comparable vehicles reduced by a"condition adjustinent".
    13
                    5.4   While the exact nuinber of ineinbers carmot yet be detei-inined, the class consists
    14
          at minimum of hundreds or thousands of persons located throughout the State of Washington.
    15
          The members of the class are therefore so nuinerous that joinder of all inernbers is iinpracticable.
    16
          The exact nuinber. of class members can readily be determined by documents produced by tlie
    17
          Defendants.
    18
                    5.5   There are questions of fact and law common to tlie class, including the following:
    19
                          i.     Whether the Defendants applied arbitrary, unexplained, or uniteinized
    20                           condition adjustinents to coinparable vehicles to calculate the value of loss
                                 vehicles;
    21
                          ii.    Whether, tlu•ough the foregoing practice, USAA breached its contracts
~   22                           with its insureds;

    23     COMPLAINT — CLASS ACTION - 11                                                      Kirk D. Miller, P.S.
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 1
                    iii.    Whether, througli the foregoing practice, USAA committed a breach of the
 2                          common law duty of good faith and fair dealing;

'3                  iv.     Wliether, tlirough the foregoing practice, USAA violated the Insurance
                            Fair Conduct Act, RCW 48.30.010, et seq.;
 4
                    V.      Wliether, through the foregoing practice, USAA violated provisions of the
 5                          Unfair Claims Settlement Practices regulation, WAC 284-3.0-300 tlirough
                            284-30-400;
 6
                    vi.     Wliether, through the foregoing practice, Defendants violated the
 7                          Consuiuer Protection Act, RCW 19.86, et seq.;

 8                  vii.    Wliether, tlu-ough the foregoing practice, CCC negligently supplied
                            inforination for the guidance of others;
 9
                    viii.   Whether, tluough the foregoing practice, CCC entered into an unlawful
10                          conspiracy with USAA;

11                  ix.     Wliether Defendants' use of iinproper condition adjustments to value loss
                            veliicles caused injuiy to Plaintiff and tlie class;
12
                    x.      Whether Defendants' actions were unreasonable, frivolous, or unfounded;
13
                    xi.     Wlietlier Defendants' actions were reckless, malicious, or willful;
14
                    xii.    Wlietlier Plaintiff and the class are entitled to' an award of compensatoiy
15                          daiizages;

16                  xiii.   Wliether Plaintiff and the class are entitled to an award of treble damages;

17                  xiv.    Wliether Plaintiff and the class are entitled to an award of attoi7iey's fees
                            and costs;
18
                    xv.     Wlietlier Plaintiff and the class are entitled to declaratoiy and injunctive
19                          relief.

20          5.6     Plaintiff has tlie same claims as the meinbers of the class. All of the claims are

21   based upon the same factual and legal tlieories.

22

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      1             5.7    Plaintiff will fairly and adequately represent the interests of the class meinbers.

      2    She is coininitted to vigorously litigating this. inatter.

      3             5.8    Neither Plaintiff nor her couiisel liave any interests that might cause them not to

      4    vigorously pursue this claim.                   "

      5             5.9 . A class action is a superior inethod for the fair and efficient adjudication of this

      6    controversy.                                                         :

      7             5.10   Class-wide declaratory and iiljunctive relief is essential.to induce Defendants to

      8    coinply with the law.

      9             5.11   The interest of the class inernbers in individually controlling the presentation of

     10    separate claims against Defendants is small because of the time and expense necessary to
L,


     11    conduct such litigation, the complexity of the litigation, and the relatively small amount of relief

     12    available to each member of the class.

     13             5.12   Cei-tification of a class is appropriate. A class action is the only appropriate means

     14   of resolving this controversy because the class members are not aware of their riglits, and the

     15    class is comprised of a largely vulnerable poliulation. In the absence of a class action, a failure of

     16   justice will result.

     17                                       VI.      CAUSES OF ACTION

     18                                       FIRST CAUSE OF ACTION
                                         (Seacla of Contract — Defendant USAA)
     19
                    6.1    Plaintiff repeats, reiterates and incorporates the allegations contained in
     20
          paragraphs 1.1 tluough 5.12 with the same force and effect as if the same were set fortli at length
     21
          herein.
     22

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         1             6.2    USAA's insurance contract provides for payment of the "actual cash, value" of a

         2    vehicle that is deeined a total loss.
    2


         3    L        6.3    USAA has materially breached its contracts with its policyholders by not offering

         4    to settle and by not settling claims based upon the actual cash value of loss vehicles. USAA

         5    departed fiom the use of actual cash values by basing their valuation and payment of the claim

         6    on values of comparable vehicles that have been artificially reduced by an arbitrary and

         7    iinjustified "condition adjustment" that is not iteinized or explained.

         8             6.4    USAA's nuinerous breaches have resulted in a systernatic failure to pay the actual

         9. cash value of total loss vehicles as required by contract.

        10             6.5    As a result of USAA's breaches and violations, Plaintiff and class members have

~       11    been damaged.

        12                                 SECON'D CAUSE OF ACTION
                   (Breach of Implied Covenant of Good Faith and Fair Dealing — Defendant USAA)
        13
                       6.6   Plaintiff re-alleges and incorporates the preceding paragraphs as if fiilly set forth
        14
             herein.
        15
                       6.7   USAA owed Plaintiff and class members, as their insureds, a duty of good faitli
        16
             and fair dealing at all times during the existence of the insurance contract aiid while providing
        17
             automobile insurance coverage, including when handling total loss claims for their insureds.
        18
                       6.8   USAA puiposefully, in bad faith and without regard to the riglits of Plaintiff and
        19
             the class, failed to pay the actual cash value of total loss vehicles. USAA's actions breached the
        20
             insurance contract and were unreasonable, frivolous, and unfounded.                                          I
        21

        22

        23 I COMPLAINT — CLASS ACTION - 14                                                         Kirk D. Miller, P.S.
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 1              6.9    USAA's unfair acts and/or acts of bad faith include basing their valuation and

 2    payment of claims on values of comparable vehicles that have been artificially reduced by an

 3    arbitrary and unjustified "condition adjusthnent" that is not iteinized or explained. .

 4              6.10 USAA breached the covenant of good faith and fair dealing with the

 5 I I aforementioned conduct.

 6              6.11 As a result of USAA's breach of the obligation, of good faith and fair dealing,. .

 7   Plaintiff and class ineinbers have been damaged.

 8                                THIRD CAUSE OF ACTION
       (Violation of Washington Consumer Protectioii Act, RCW 19.86 et seq.- All Defendants)
 9
                6.12 Plaintiff re-alleges and incorporates the preceding paragraphs as`if fully set forth
10
     hereiii.
11
                6.13 Defendants'. actions complained of herein are unfair or deceptive acts or practices
12
     in the conduct of trade or coinrnerce under the Washington State Consumer Protection Act.
13
                6.14 Defendants unreasonably denied payment of benefits to Plaintiff and the class and
14
     lalowingly misrepresented the basis for tlieir total loss valuations.
15
                6.15 USAA failed to adopt and iinplement reasonable standards for the investigation oi
16
     claiins. USAA failed to conduct a reasonable investigation regarding their claims payments.
17
     USAA made false representations as to the characteristics and benefits of their total loss
18
     coverage and insurance policies and represented that they were of a particular, standard, quality,.
19
     or grade while knowing they were iiot.
20
                6.16 CCC intentionally or negligently supplied false and misleading valuation data to
21
     USAA for the guidance of USAA and their insureds in the settlement of total loss claims,
22

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     1      lazowing the infoi-lnation would be used for this purpose and that the insureds would see and rely

     2      on CCC's comparables. CCC's recoinmended comparable valuations were false'because they

     3      included condition adjustments to the values of comparable vehicles that were unjustified,

     4      arbitraiy; un-itemized, and unexplained. These adjustments were false with no basis in ;fact

     5      aiid/or resulted in false statements of value of the loss veliicle because they are contrary to

     6      Washington law and should not have been applied. USAA provided and based offers on these

     7      CCC repoi-ts to its insureds and is likewise responsible for the accuracy of the evaluations and

_    8      the unjustified, arbitraiy, un-iteinized, and unexplained condition adjustrnents that resulted.

     9                6.17 Defendants' aforementioned conduct continues to occur in the course of their

    10      business. Defendants' conduct is part of a general course of conduct repeated on thousands of

    11      occasions, and thus has a significant iiiipact on the public interest. Defeiidants' conduct injured

    12      many persons, and Defendants' ongoing conduct has the capacity to continue to injure other

    13      persons.

    14                6.18 Defendants were engaged in the business of insurance, whicli affects the public

    15      interest pursuant to RCW 48.01.030.

    16                6.19 As a result of Defendants' actions, Plaintiff and class members suffered dainages

    17      or injuiy to their propei-ty or business.

    18                                       FOURTH CAUSE OF ACTION
                                            (Civil Conspiracy - All Defendants)
    19
                      6.20 Plaintiff re-alleges and incorporates the.preceding paragraphs as if fully set forth
    20
            herein.
    21

    22

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 1               6.21 As alleged above, USAA and CCC have agreements under which CCC furnishes

 2      USAA with valuation reports that undervalue.total loss claiins by applying arbitraiy, unjustified,

 3     unexplained, and un-itemized condition adjustments to the values of comparable vehicles. The

 4     use of these valuation reports to process and undeipay claiins violates USAA's contracts witli its

 5      insureds as well as RCW 19.86, et seq.

 6               6.22 The agreements between USAA and CCC constitute an agreement to accomplish

 7      an unlawfiil purpose, to wit, the breacli of the insurance contracts (including provisions of

 8     Washingtoirlaw that dictate the inethod by whicli total loss claims are valued) and Washington's

 9     prohibitions of unfair and deceptive claims handling practices. The agreements between USAA

10      and CCC therefore constitute a civil conspiracy under Washington law.

,11              6.23 As a result of Defendants' actions, Plaintiff and class members incui-red damages.

12                                       FIFTH CAjJSE OF ACTION
                              (Declaa•atory and Injunctive Relief - All Defendants)
13
                 6.24 Plaintiff re-alleges and incoiporates the preceding paragraphs as if f-ully set forth
14
       herein.
15 ,
                 6.25 Plaintiff brings this cause of action for herself and the class seelcing a declaration
16                                             ,
        tliat, for those who inaintain an auto iiisurance policy with USAA; it is a violation of Washington
17
        law and the insurance coiltract for all Defendants to base theirvaluation and/or payment of
18
        claims on values of comp.arable vehicles that have been artificially reduced by an arbitrary and
19
       uiijustified "condition adjustinent" that is not itemized or explained.
20

21

22
                                                                                            Kirk D. Miller, P.S.
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 1            6.26 This Court has the powet to declare the rights of said USAA policyholders and

 2    those who would be insured under such policies and who may suffer similar losses in the fiiture,

 3    as well as those who have suffered valuation-related losses.

 4            6.27 Plaintiff, for herself and on behalf of the class, seeks a-declaration of rights under

 5    the USAA policy, and seeks a declaratiori of the riglits and liabilities of the pai-ties herein.

 6            6.28 With respect to Defendants' continuing unlawfiil prac:tices; Plaintiff has no plain,

 7    speedy, or adequate remedy at law, the interests of the parties favor an injunction, and an

 8    injunction is in the public interest. Plaintiff therefore seeks an order pei-inanently enjoining all

 9    Defendants from basing their valuations and/or payments of claiins on values of comparable

10    vehicles that have been ai-tificially reduced by an arbitrary.and unjustified "condition

11    adjustment" that is not itemized or explained.

12                                      VII. RELIEF REQUESTED

13            WHEREFORE; Plaintiff prays for judgment to be entered against Defendants as follows:

14            1.      Cei-tification of the above-defined class;

15            2.      Appointment of Plaintiff as class representative and appointing the undersigned

16 I counsel to represent the class;

17           3.       Declaratoiy and injunctive relief, including an injunction requiring Defendants to

18    cease and desist fiom basing their valuation and payments of total loss vehicle claims on values

19    of comparable veliicles that have been artificially reduced by an arbitrary and unjustified

20    "condition adjustment" that is not itemized or explained;

21           4.       For compensatory damages in an anlount to be proven at trial;

22

23 I COMPLAINT — CLASS ACTION - 18                                                        Kiik D. Miller, P.S.
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 1          5.      For treble dainages for Plaintiff and for each class meiiiber's darnages pursuant to

 2   RCW 19.86, et seq.;

 3          6.      For reasonable attorney's fees and costs pursuant to RCW 19.86, et .seq., as

 4   othei-wise provided by law, and/or as would be reasonable fioiA any recoveiy of inonies

 5   recovered for or benefits bestowed upon the class;

 6          7.      For interest on the above amounts as authorized by law; and

 7          8.      For sucli other relief as the Court deems just and equitable.

 8

 9      DATED this ~~
                    — day of February, 2020.

10                                                        KIRK D. MILLER, P. S.

11

12                                                    /irl Miller, WSBA #40025
                                                     d Attomey for Plaintiff
13

14                                                        HOGUE LAW FIRM

15

16                                                        Christopher M. Hogue, WSBA #48041
                                                          Attorney for Plaintiff
17

18                                                         CAMERON SUTHERLAND, PLLC ..

19

20                                                        Brian G. Caineron, WSB            905
                                                          Attorney for Plaintiff
21

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